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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
__________________________________
                                   :
George Fenn and Wendy Fenn,        :
                                   :
                  Plaintiffs,      : Civil Action No.: 3:13-cv-01449-MPS
                                   :
     v.                            :
                                   :
Convergent Outsourcing, Inc.; and  :
DOES 1-10, inclusive,              :
                                   :
                  Defendant.       :
__________________________________ :
                                   :

                           STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the

issues alleged in the complaint in this action, and have negotiated in good faith

for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or

incompetent person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue

the litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the

above-captioned action is hereby dismissed against Defendants Convergent

Outsourcing, Inc. with prejudice and without costs to any party.
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George Fenn and Wendy Fenn         Convergent Outsourcing, Inc.

  /s/ Sergei Lemberg                /s/ John K. Rossman

Sergei Lemberg, Esq.               John K. Rossman, Esq.
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                                   Attorney for Defendant



_____________________________
SO ORDERED




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                           CERTIFICATE OF SERVICE

      I hereby certify that on March 19, 2014, a true and correct copy of the
foregoing Stipulation of Dismissal was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By /s/ Sergei Lemberg
                                         Sergei Lemberg
